

Matter of Campbell (2021 NY Slip Op 06915)





Matter of Campbell


2021 NY Slip Op 06915


Decided on December 9, 2021


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:December 9, 2021

PM-176-21
[*1]In the Matter of Hugh Hamill Campbell III, an Attorney. (Attorney Registration No. 2278398.)

Calendar Date:December 6, 2021

Before:Egan Jr., J.P., Lynch, Pritzker, Reynolds Fitzgerald and Colangelo, JJ.

Hugh Hamill Campbell III, Gibsonia, Pennsylvania, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Hugh Hamill Campbell III was admitted to practice by this Court in 1989. Campbell now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Campbell's application.
Upon reading Campbell's affidavit sworn to September 1, 2021 and filed September 7, 2021, and upon reading the November 29, 2021 correspondence in response by the Chief Attorney for AGC, and having determined that Campbell is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
Egan Jr., J.P., Lynch, Pritzker, Reynolds Fitzgerald and Colangelo, JJ., concur.
ORDERED that Hugh Hamill Campbell III's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that Hugh Hamill Campbell III's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Hugh Hamill Campbell III is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Campbell is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Hugh Hamill Campbell III shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








